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           Ester Martinez, et al. v. Atlantis Super Wash Center Inc.     23        04667 CBA
Case Name: ________________________________________________ Case Number: ____ CV - ________ ( _____ ) (PK)



  PROPOSED DISCOVERY PLAN/SCHEDULING ORDER
                                                                                  NOT
                                                                        DONE   APPLICABLE       DATE

 A. ACTIONS REQUIRED B EFORE THE INITIAL CONFERENCE
     1. Rule 26(f) Conference held                                      X
     2. Rule 26(a)(1) disclosures exchanged                                                 9/10/2024
     3. Requested:

            a. Medical records authorization                                   X

            b. Section 160.50 releases for arrest records                      X

            c. Identification of John Doe/Jane Doe defendants                  X

     4. Procedures for producing Electronically Stored                         X
        Information (ESI) discussed

     5. Confidentiality Order to be submitted for court approval
         (see Standing Confidentiality Order on the Chambers website)          X

 B. SETTLEMENT PLAN
     1. Plaintiff to make settlement demand                             X
     2. Defendant to make settlement offer                              X
     3. Referral to EDNY mediation program pursuant to Local
        Rule 83.8? (If yes, enter date for mediation to be
        completed)                                                             X

     4. Settlement Conference (proposed date)                                  X

 C. PROPOSED DEADLINES
     1. Motion to join new parties or amend pleadings                                       10/4/2024

     2. Initial documents requests and interrogatories                                      10/4/2024

     3. All fact discovery to be completed (including disclosure of
        medical records)                                                                    3/28/2025

     4. Joint status report certifying close of fact discovery and
        indicating whether expert discovery is needed                                       4/4/2025



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    5. Expert discovery (only if needed)                                    Check here if not applicable   ✔

   Plaintiff expert proposed field(s) of expertise:

   Defendant expert proposed field(s) of expertise:

                                                                                   NOT
                                                                         DONE   APPLICABLE       DATE
            a. Affirmative expert reports due

            b. Rebuttal expert reports due

            c. Depositions of experts to be completed

    6. Completion of ALL DISCOVERY (if different from C.3)

    7. Joint status report certifying close of ALL DISCOVERY                                 4/4/2025
       and indicating whether dispositive motion is anticipated

    8. If any party seeks a dispositive motion, date to                                      4/30/2025
       (a) file request for pre-motion conference (if required), or
       (b) file briefing schedule for the motion

    9. Proposed Joint Pre-Trial Order due (if no dispositive                                 5/2/2025
       motion filed)

 D. CONSENT TO MAGISTRATE JUDGE JURISDICTION
    1. All parties consent to Magistrate Judge jurisdiction for dispositive motion?               Yes
                                                                                                ✔ No
    2. All parties consent to Magistrate Judge jurisdiction for trial?                            Yes
                                                                                                ✔ No
 E . COLLECTIVE ACTION AND CLASS ACTION MOTIONS ONLY
    1. Motion for collective action certification in FLSA cases                 X
         a. Response due
         b. Reply due
    2.   Motion for Rule 23 class certification                                 X
        a. Response due
        b. Reply due
This Scheduling Order may be altered or amended only upon a showing of good cause based on
circumstances not foreseeable as of the date of this order.

SO ORDERED:

 Peggy Kuo
___________________________
                                                             8/28/2024
                                                            _______________________
PEGGY KUO                                                   Date
United States Magistrate Judge
                                                                                         Rev. 11-03-20
